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Laura Egerman
McCalla Raymer Leibert Pierce, LLC
485F US Highway 1 S
Suite 300                                                        Order Filed on May 22, 2024
Iselin, NJ 08830                                                 by Clerk
                                                                 U.S. Bankruptcy Court
Telephone: (732) 902-5399                                        District of New Jersey
NJ_ECF_Notices@mccalla.com
Attorneys for Secured Creditor

                     UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NEW JERSEY

In re:                                        Case No. 24-12207-JKS

Eilene DaSilva                                Hearing Date: May 21, 2024 at 10:00 a.m.
aka Eliene Silva
aka Elaine Silva                              Judge: John K. Sherwood
aka Eleine D Oliveira Silva
aka Eilene C Da Silva,                        Chapter 7

                                 Debtor.




              Recommended Local Form             Followed             Modified



          ORDER GRANTING MOTION FOR IN REM RELIEF FROM STAY

The relief set forth on the following pages, numbered two (2) and three (3), is hereby ORDERED.




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        Upon the motion of NewRez LLC d/b/a Shellpoint Mortgage Servicing as the servicer for
The Bank of New York Mellon fka the Bank of New York, as Trustee for the Certificateholders
CWALT, INC., Alternative Loan Trust 2006-17T1, Mortgage Pass-Through Certificates, Series
2006-17T1, under Bankruptcy Code section 362(d) for relief from the automatic stay as to certain
property as hereinafter set forth, and for cause shown, it is

        ORDERED that the motion is granted and the stay is terminated to permit the movant to
institute or resume and prosecute to conclusion one or more actions in the court(s) of appropriate
jurisdiction to pursue the movant’s rights in the following:

             Real property more fully described as:
                81 Chestnut Street South, Livingston, New Jersey 07039

        It is further ORDERED that the movant, its successors or assignees, may proceed with its
rights and remedies under the terms of the subject mortgage and pursue its state court remedies
including, but not limited to, taking the property to sheriff’s sale, in addition to potentially pursuing
other loss mitigation alternatives, including, but not limited to, a loan modification, short sale or
deed-in-lieu foreclosure. Additionally, any purchaser of the property at sheriff’s sale (or purchaser’s
assignee) may take any legal action for enforcement of its right to possession of the property.


             Personal property more fully described as:



        It is further ORDERED that the movant may join the debtor and any trustee appointed in this
case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.

        It is further ORDERED that the movant shall be permitted to reasonably communicate with
Debtor(s) and Debtor(s)’ counsel to the extent necessary to comply with applicable non- bankruptcy
law.

        It is further ORDERED that the Trustee is directed to cease making any further distributions
to the Creditor.



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        It is further ORDERED that any future filing in any case under the Bankruptcy Code
purporting to affect the Property, shall not operate as a stay against Movant, its successors or assigns,
for a period of two (2) years marked from entry of the within Order; and

        The movant shall serve this order on the debtor, any trustee and any other party who entered
an appearance on the motion.


                                         END OF ORDER




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